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IN THE UNITED sTATES DISTRICT coURT F“£D 3Y »- D-C-
WESTERN DISTRICT oF TENNESSEE _ y l_ 7
WESTERN DIVISION 05 JUN 22 PH J» be

 

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C‘:_Ei'--;K. U.S. Dt'r:-BT. CT.
SHELBY COUNTY HEALTH CARE W.D. OF TN. Mc;MFH!S
CORPORATION d/b/a REGIONAL

MEDICAL CENTER,
Plaintiff,
VS. NO. 2:050v2238-D/P

BOAR’S HEAD PROVISIONS
COMPANY INC.,

\_/\./\_/\_/VWV\_/VV\_/\/

Defendant.

 

SCHEDULING ORDER

 

This Scheduling Order was submitted by Teresa A. McCullough, counsel for Plaintiff,
and John Campbell, counsel for Defendant, Boar’s Head Provisions Company, Inc. Plaintiff’s
counsel requested an extension of the Court’s recommended time frame in that Plaintiff’s
counsel anticipates maternity leave in August and September of 2005.

INITlAL DISCLOSURES PURSUANT TO Fed. R. Civ. P. 26(a)(l): July 07, 2005
JOINING PARTIES: November 28, 2005
AMENDING PLEADINGS: November 28, 2005
INITIAL MOTIONS TO DISMISS: January 16, 2006
COMPLETING ALL DISCOVERY: Ma:rch 31, 2006
(a) DOCUMENT PRODUCTION: March 31, 2006

(b) DEPOSITIONS, [NTERROGATORIES AND REQUESTS FOR ADMISSIONS:
March 31, 2006

(c) EXPERT WITNESS DISCLOSURE (Rule 26):
(l) DISCLOSU OF PL INTIFF’S RULE 26 EXPERT INFORMATION:

Thls document entered on the docketl
wlth Rule 58 and/or 79(a) FF-'|CP on

     

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(2) DISCLOSURE OF DEFENDANTS’ RULE 26 EXPERT
INFORMATION: February 24, 2006

(3) EXPERT WITNESS DEPOSITIONS: March 31, 2006

FILING DISPOSITIVE MOTIONS: April 28, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
Subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objections shall be waived.

This case is set for non-jury trial and the trial is expected to last one (1) day. The pretrial
order date, pretrial conference date, and trial date Will be set by the presiding judge.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended.

'rU M. PHAM`
United States Magistrate Judge

/_,. /
DATE: dowd 21!?»0“3

IT IS SO ORDERED.

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TERESA A. McCULLOUGH
Attorney for Plaintiff (1 795 7)

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JOHN W. CAMPB L
Attorney for Defendant

Boar’s Head Provisions Company (16017)

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was forwarded, via First Class
U.S. Mail, postage prepaid to:

.iohn W. Carnpbell

Husch & Eppenberger, LLC

One Memphis Place

300 Jefferson Avenue, Suite 1450
Memphis, Tennessee 38103

on this the § day of ja we ,206’15”.

//M//

/TERESA A. MCCULL GH
McCullough & McCullough
Attomeys for Plaintiff

9050 Corporate Gardens Drive
Gerrnantown, Tennessee 38138

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02238 Was distributed by fax, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Teresa Ann McCullough
MCCULLOUGH & MCCULLOUGH
9050 Corporate Gardens Dr.
Germantovvn7 TN 3 8138

Honorable Bernice Donald
US DISTRICT COURT

